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UNITED STATES DISTRICT COURT                                               p<>CUMENT
SOUTHERN DISTRICT OF NEW YORK                                         ·'" 'ELECTRONICALLY FRED~
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         -against                                                               ORDER
                                                                            18 CR 799 (KMW)
WEN XIN DUAN,

                                        Defendant.
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KIMBA M. WOOD , District Judge:

         The Court will hold a remote sentencing in the above-captioned case on Thursday,

November 12, 2020, at 10:00 a.m.

         Members of the press and public who wish to hear the proceedings should dial 917-933-

2166, and enter Conference ID number 449480207.

         SO ORDERED.

Dated: New York, New York
       November 5, 2020


                                                           KIMBA M. WOOD
                                                      UNITED STATES DISTRICT JUDGE
